Case 3:05-bk-03817-JAF Doc 9262-1 Filed 07/17/06 Page1of7

EXHIBIT “A”
a

Case 3:05-bk-03817-JAF Doc 926

2-1 Filed 07/17/06 Page 2of7

. s
* "Berm BIO (Official Fornt 10) (04/04)

UNITED STATES BANKRUPTCY COURT

. MIDDLE DISTRICT OF FLORIDA, JACKSONVILLE DIVISION
Winn-Dixie Stores, Inc., et al,, Case No. 05-03817-3F1 Jointly Administered -

DEADLINE FOR FILING PROOFS OF

Chapter 11
CLAIM [NO DATE HAS YET BEEN SET}

PROOF OF CLAIM

Name of Debtor Against Which You Assert Your Claim:

Weld Liat 46 2 TES fae,

Case No, fg7 BHF

EXHIBIT
A

Debtor Name;
(See List of Names and Case Numbers on Reverse Side)

NOTE: This form should not be used to make a claim for an administrative expense arising-after the conimencement of -
the case; A “request” for payment of an administrative expense may be filed pursuant to 11 U.S.C. 6503.”

A. Name and Address of Creditor (The persoa or other en tity to whom the debtor owes
money or REY L Lbgley GARE Me.
Céedir Depr
Sad madison Ayr
Bd. box fideo
THEY Gf GLH -Ohed

U8 225. Bf fe
Telephone No. of Creditar
“f3 3 IS HG

Fax No. of Creditor

(If your address has changed
or is incorrect as tt appears
in Item A, plense provide
corrections}

E. Name and address of signatory or other person to whom notices must be served, if
different from ubove. (Check box if): O replaces address above (1 additional address

Nome:

O Check box if you are
‘avare that anyone élse has
filed a proof of claim
retaling to your claim,

Company/ Firm:

Attach a copy of statement
giving particulars.

Address:

O Check box if you have
never received any natices in

this case, This Space fs For Court Use Only

Account of Other Number by Which Creditor Identifies Debtor:

Check here if this claim

Oreploces OClamends a previously filed claim, dated:

1, Basis for Claim

All Goods sold to debtor{s) Taxes
I Services performed for debtor(s) Severance agreement
Refund

CO] Goods purchased from cebtor{s)
O Money inaned

Cd Personal injury/property damage
QO] Other

Real property lease
Personal property lease
Other contract

o0o00e0

G Retiree benefits as defined in 11 USC. § 111 4a}
O Waves, salaries, and compensation (fill out below}
Last four digits of SSN:
Unpaid compensation for services performed trom

to

{date) (date)

7, Date debt was incurred: Vike Lose

3. [Felaln is based ona Court Jadgment, date obtained:

4. Tota! Amount of Claim at Time Case Filed: |
5 148 LG.39 $

(uhsecured}

Ifall or part of your claim is secured or entitled to priority, also complete item 5 ur 7 below. . .
CO Cheek this box ifelaim includes iaterest or other charges in addition to the principal amount of the claim. Atlach itemized statement of all interest or additional charyes.

5 sAUS Lf dd
(priority) * (Totaly

(secured)

5. Secured Clalm.
OO Check this box if your claim is secured by collateral {including 0 tight of setalf).

Brief description of Collateral:

Real Estate Ol Motor Vehicle © Other

Value of Collateral: 5.

Amount of arrearage ond other charges al tinte case filed included in
secured claim, if any: $

6. Jénsecurcd Nonpriority Clatm § 24S, GO8. 30
tenes this box #f: a) there ix no collateral oriien securing your claim, or b} your
claim exceeds the value of the property securing it, or iF c) none or only part of your

claim is entitled te priority.

7. Unsecured Priority Claim.
OQ Check this box if you have an unsecured priority claim

Amount entitled to priority $
Specify the priority of the claim:
Wages, salaries, ar commissions (up ta £4,925),* earned within 90 days before Filing of
the bankruptcy petition or cessation of ine debtor's business, whichever is carlier -

11 U.S.C. § 507 {0} (3).

Contributions to an employee benefit plan ~ t1 U.S.C, § 507 (o} (4).

Up to $2,225" of deposits towerd purchase, lense, or rental of property or services tor
personal, family, ar household use — 11 U.S.C. & 507 (a) (6),

Alimony, maintenance, or support owed to a spouse, former spouse, or child -

Li U.S.C, 8 507 (a) (7).

Taxes or penalties uwed to governmental units - 11 U.S.C. § 507 (a) (8

1 Other - Specify applicable paragraph of L1 U.S.C. § 507 (a)¢ ).

*dmuunis are subject to cedfitument on 441AV? and every 3 years thereafter with respect t

Oo

o oO oo

coses commenced on ur after the date uf adjustment.
Sos =
B. Credits: The amaunt of ali payments on his claim hes been credited and deducted fir the purpose of making this proof of claim. This Spdde ls Fotepurt Use nly
9. Supporting Dacuments: Anech copies of sappurting ducuments, such as promissary notes, purchase orders, invoices, itemized = co en o
statements of renning accounts, conlracis, court juulements, morlyages, security auveemenis, and evidence of perfection of lien. ow oe = = .
DO NOT SEND ORIGINAL DOCUMENTS. IFthe documents are nat available, explain. If the documents are voluminous, “oe: SS ys “Tt
atlach a summary. ” "7 r oR 1 on Rofty
£0, Date-Stomped Copy: To receive an acknowledgment of the [iling of your claim, enclose a slamped, seff-addressed envelope [= ow 20
and copy éf this prowl of claim, a wg * om
Dute Sign and print the name and title, ifany, of the creditor or other person authorized to file this claim Bw ey pat
: : if any. i fee: toe =
(attach copy of power of attorney. if any) und ta recetve nafice: = te tery
ft Loh Cuett LY, 4 és eee oo ery
4 eff fC) Print: Mt Wd PEP z tine: CXL LO MAGE 33 oO oc
: = = =
Signature: RAW. tay a“ . to =

Penalty for presenting (raudufent claim: Fine 7p tu 5300.000 ur irgprisunment Tar up to 5 years, or both, 18 U.S.C. $8 152 and 3571, t 7

Case 3:05-bk-03817-JAF Doc 9262-1 Filed 07/17/06 Page 3of/7

Form B10 (Official Form 10) (04/04)

INSTRUCTIONS FOR PROOF OF CLAIM FORM

PLEASE READ THE PROOF OF CLAIM FORM CAREFULLY AND FILL IT IN COMPLETELY AND ACCURATELY. PRINT LEGIBLY, YOUR CLAIM MAY 3B
DISALLOWED IF IT CANNOT BE READ AND UNDERSTOOD. THE PROOF OF CLAIM MUST BE COMPLETED IN ENGLISH. THE AMOUNT OF ANY CLAIMS MUST

HAVE ARISEN ON OR BEFORE THE TIME OF FILING ON FEBRUARY 21, 2005, AND MUST BE DENOMINATED IN UNITED STATES CURRENCY.

by a debtor, there may be exceptions to these general rules.

The instructions and definitions below arc gencral explanations of the law. In particular types of cases or circumstances, such as bankruptcy cases that ere not filed voluntarily

= DEFINITIONS —

Debtor
The person, corporation, or other entity that has Filed a
bankruptey cese is calicd the debtor.

Creditor .

A creditor is any person, corporation, or other entity to whom
the debtor owed a debt on the date that the bankruptcy case
wes Filed.

Proof of Claint

A form telling the bankruptcy court how much the debtor
owed a creditor at the time the bankruptey case was filed (the
amount of the cteditor’s claim). This form must be filed with
the clerk of the bankruptcy court where the bankrupicy case
was filed or with a designated agent of the court,

Secured Claim

A claim is a secured claim to tha extent that the
creditor hag a lien on property of the debtor
(collateral) that gives the creditor the right to be paid
from that property before creditors who do not have
liens on the property. ,

Examples of liens are a mortgage on real cstate and &
secucity interest in a car, truck, boat, television set, or
other item of property. A len may have been
obtained through a court proceeding before the
bankruptey case Began; in some states a court
judgment is a lien, In addition, te the extent a
creditor also owes money to the debtor (has a right of
sctoff), the ereditor's claim may be a accured claim.

Unsecured Claim

Tfa claim is not a secured claim, it is an unsecured
claim. A claim may be partly secured and partly
unsecured if the property on which a creditor has a
Jien is mot worth cnough te pay the creditor in full,

Unsecured Priority Claim

Certain types of unsccured claims are given priority,
so they are to be paid in bankruptey cases Before
most other unsccured claims (if there is sufficient
money or property available to pay these claims).
The most common types of priority claims are fisted
on the proof of claim form. Unsecured claims that
are not specifically given priority status by the
bankruptcy laws arc classificd ag Unsecured

(Sce also Unsecured Claim.)

- Nonpriorine Claims.

ITEMS TO BE COMPLETED IN PROOF OF CLAIM FORM (If Not Already Filled In)

Name of Debtor and Case Number: .
Fill in the name of the Debtor against which you assert a claim, as well as the Case Number
applicable to such Debtor. The Debtors’ Names and Case Numbers are listed below.

Winn-Dixie Stores, Inc. Case No. 05-03817-3F 1
Dixie Stores, Inc. Case No. 05-03818-3F 1
Table Supply Food Stores Co., Inc, Case No. 05-03819-3F 1
Astor Products, Inc. Case No. 05-03820-3F1
Crackin’ Good, Inc. Case No. §5-03821-3F 1
Deep South Distributors, Inc. Case No, 05-03822-3F 1
Deep South Products, Inc. Case No. 05-03823-3F 1
Dixie Darling Bakers, Inc. Case No. 05-93824-3F 1 .

Case No. 05-03825-3F 1
Case No. 05-03826-3F |

Dixie-Home Stores, Inc.
Dixie Packers, Inc.

Dixie Spirits, fac. Case No. 05-03827-3F
Economy Wholesale Distributors, Inc. Case No. 05-03828-3F 1
Foodway Stores, Inc. Case No. 05-03829-3F 1
Kwik Chek Supermarkets, tne. Case No. 05-03830-3F1
Sunbelt Products, inc. Case No. 05-03831-3F i
Sundown Sales, Tac. Case No. 05-03832-3F 1

Case No. 05-03833-3F1
Case No. 05-03834-3F1
Case No. 05-03835-3Ft
Case No. 65-03836-3F1
Case No. 05-03837-3F 1

Superior Food Company

WD Brand Prestige Steaks, Inc.
Wina-Dixte Handyman, fnc.
Winn-Dixie Logistics, Inc.
Winn-Dixie Montgomery, Inc.

Wina-Dixle Procurement, Inc. Case No. 05-03838-3F |
Winn-Dixie Raleigh, Inc. Case No. 05-03839-3F1
Winn-Dixie Supermarkets, Inc. Case No. 05-03840-3F1

(NOTE: Ifyou have a clatin against more than one of the Debtors, you must file a
separate proof of claim against each Debtor. If your proof of claim fails to designate the
Debtor against which you have a claim, your claim will be deemed to be a claim agatnst
Winn-Dixie Stores, {ne, If your proof af claim designates more than one Debtor, your
clair wil] be deemed to be a claim only against Winn-Dixie Stores, Inc.)

Information about Creditor: Complete the section giving the name, address, telephone
number, fax cumber, and c-mail address (if any) of the creditor to whom the debter owes
meney or property, and the debtor's account number, ifany. [Fanyone else has already filed
a proof of clam relaling 10 this debt. or if this proof of claim replaces or changes a proof of
claim that was already filed, check the appropriate box on the form. Please note that all
future correspondence sent by Logan & Company, lnc. will be mailed to the pre-printed
address os listed In Box A on the reverse side, unless you indicate and change the
address on the reverse stde. Further future mailings will be sent to the attention of the
sipnatory on the reverse side of this Proof of Claim.

1, Basis for Claim:

Check the type of debt for whieh the proof of claim is being filed, If the type
of debt is not listed, check “Other” and bricfly describe the type of debt. If
you were an employee of the debtor, fill in the last four digits of your social
security number and the dates of work for which you were not paid.

2. Date Debt Incurred:
Fill in the date when the debt first was owed by the debtor.

3. Court Judgments:
Ifyou have a court judgment for this debt, state the date the court entered the
judgment.

4. Total Amount of Claie at Time Case Filed:
Fili in the applicable amounts, including the total amoun of the entire claim,
iF interest or other charges in addition to the principal amount-of the claim arc

‘included, check the appragriate place on the farm and attach ant itemization of

the interest and charges.

§. Secured Claim:

Check the appropriate placc if the claim is a secured claim. You must state
the type and valuc of property that is collateral for the claim, attach copics of
the documentation of your lien, and state the arvount past duc on the claim as
of the date the bankruptcy case was filed. A claim may be partly secured and
partly unsceured, (See DEFINITIONS, above}.

6 Unsecured Nonpriority Claim:

Cheek the appropriate place if you have an unsecured nonpriority claim.
sometimes referred to as a “genera! unsecured claim." (Sec DEFINITIONS,
above). If your claim is partly secured and partly unsceured, statc here the
amount that is unsccared, [fF part of your claim is entitled to priority, state
here the arsount mot entitied to priority.

7. Unsecured Priority Claim

Check the appropriate place if you have an unsecured priority claim, and statc

the amount entitled te priority. (Seo DEFINITIONS, above). A claim may
be partly priority and partly a nonpriority if, for cxamplc, the claim is for
more than the amount given priority by the law. Check the appropriate place
wo specify the type of priority claim.

8. Credits:

By signing this proof of claim, you arc stating under oath that in calculating
tHe amount of your claim you have given the debtor credit for all payrmenis
received from the debtor.

9. Supporting Documents;

You must attach to this proof of claim farm copics of documents that show
the debtor owes the debt claimed or, if the documents are too lengthy, a
summary ol those documents, If documents are gol available, you must
attach an explanation of why they are not available.

DO NOT SEND ORIGINAL SUPPORTING DOCUMENTS, ORIGINAL
GIFT CERTIFICATES/GIFT CARDS, ETC.

_ THE ORIG!

{

SERVICE TO: WINN-DIXIE CLAIMS DOCKETI

NAL OF THIS PROOF OF CLAIM FORM MUST BE-SENT SC THAT IT IS RECEIVED ON OR BEFORE 5:00 P.M. EASTERN TIME,

], 2005. SEND THE COMPLETED PROOF OF CLAIM FORM BY U.S. MAIL, COURIER SERVICE, HAND DELIVERY OR OVERNIGHT

NG CENTER, c/o LOGAN & COMPANY, INC., 546 VALLEY ROAD, UPPER MONTCLAIR,

NEW JERSEY 07043. PROOFS OF CLAIM MAY NOT BE SENT BY FACSIMILE. TELECOPY, OR OTHER ELECTRONIC MEANS.

Case 3:05-bk-03817-JAF Doc 9262-1 Filed 07/17/06 Page4of7

Libbey Glass inc.
300 Madison Ave.
PO Box 10060

Toledo, OH 43699

Winn Dixde
Account Summary
04/26/05
Account# Type Amount Bue
5682741 Retail 19,490.55
4198794 Continuity-2004 162,451.36
667881 Continuity-2003 63,666.39

245,608.30 TOTAL DUE (etter various credits are applied)
Case 3:05-bk-03817-JAF Doc 9262-1 Filed 07/17/06 Page5of7

Winn Dixie
Account #5682741-RETAIL

Dag Type Doc # Doc Date Due Date Amount Due

RB 319095 o3/23/c0 03/23/00 6,174,298
RB 413727 og27/02  og/27/02 222,80
RB - 423888 o14a/os } = O1/18/03 741.29
RB 431928 04/26/03 . 04/26/03 476.76
RB 446745 09/23/03 09/23/03 353.20
ae 448130 10/03/03 10/03/03 ' 7 AR7.94
RB 454800 11/29/03 11/29/08 6,644.40
AB 457991 01/02/04 = O1/02/04 508.90
RB 473356 os/14/04 05/14/04 75.48
RB 476181 oeoa/04 —o6/08/04 388.96
RB 477369 os/i7jo4 08/17/04 406.44
AB 481069 07/03/04 07/03/04 244.50 ,
RB 482439 a7i0i04 §— O7/10¥04 130.40
RB 498878 ag/os/o4 ag/ag/04 1,368.32
AB 496879 og/os/o4 = og/oa/o4 1,055.09
AB 496880 og/0g/o4: ag/o8/04 1,826.35
RB 496881 ogyos/04 o9/oa/o4 503.17 -
RB 4ge8a2 og/og/o4 — ogyoe/a4 §28.59
AB 498076 cartijos = og/t1/04 268,92
RB 511279 W044 4/04 18,360.00
RB 515907 11/26/04 11/26/04 575.00
RB 515909 11/26/04 11/26/04 1,228.23
AB 515908 11/26/04 © 11/26/04 1,025.00
RB 523541 igeaiod = 12/24/04 "50.32
AB 531203 o1/2a/05 «= 01/29/05 244.50 50,598.85 RB TOTAL
Ri 2325001 12/06/04 01/05/05 . 7,884.00 Se :
‘Al 2344185 12/90/04 a1/2905 2,037.98 |
Al 9344186 12/30/04 01/29/05 1,447.24
Al ese0se4 = 0240s «= 02/28/05 6,024.94
A 2361585 01/25/95 02/24/05 1,557.52
Rl 2964764 = «04/28/05 02/27/05 1,246.46
Rl 9264765 01/28/05 02/27/05 2,984.24
Ri 2368144 02/02/05 03/04/05 1,846.87
Ri 9374885 02/11/05 03/13/05 2,108.30
Al 2379645 02/18/05 03/20/05 4,404.46 27,942.01 AI TOTAL
RM 4703207 10/23/02 10/23/02 (1,347.08)
AM ias2940 = O5/14/03 05/14/08 {1,370.53}
RM 193a498 4=s«gg/goyos)=—sg/goyog (2,420.05)
AM yossie4 © 11/07/03 «= 17/07/03 (26,026.62)
RM 20s2684 | 01/2104 01/21/04 (7,522.48)

- AM "2062351 02/03/04. o2/os/o4 (797.40)
AM ate2es8 © oaii4jo4 = 04/14/04 {3,335.98}
AM 2202832 8§= O717/04 «= O7/17/04 (3,573.57)
RM 2274743 «= 10/42/04 =. 10/12/04 (2,435.40)
AM 2351445 1/12/05 = 01/12/05 (8,431.09)
RM 2400324 = 4/15/05 = 04/15/05 (1,657.26)

AM 2421265 04/16/05 04/16/05 (82.87) (58,980.31) RM TOTAL

TOTAL: 19,490.55
Case 3:05-bk-03817-JAF Doc 9262-1 Filed 07/17/06 Page 6 of 7

Winn Dixte
Account #4198794-2004 Continuity

Doc Type Doc # Dec Date PueDate Amount Due

RB 523806 12/26/04 12/26/04 31,588.20
RB 523807 12/26/04 12/26/04 6,098.93
RB 523808 12/26/04 12/26/04 2,939.88
RB 523809 12/26/04 ° 12/26/04 43,200.00
RB 523810 12/26/04 12/26/04 29,577.60 -
RB ga3ei1 12/26/04 12/28/04 - 42,743.40
RB 323812 12/26/04 12/26/04 31,588.20
RB 523813 12/26/04 12/26/04 45,716.40
RB - 523814 12/26/04 12/26/04 33,847.20
RB 523815 12/26/04 12/28/04 44,006.40
RB 523816 12/26/04 12/26/04 16,345.59
RB 523817 12/26/04 12/26/04 42,726.60
RB 529823 12/26/04 12/26/04 8,076.66
RB 523824 12/26/04 12/26/04 4,175.80
RB 523825 12/26/04 12/26/04 877.08
AB 523826 12/28/04 12/26/04 2,524.57
RB 523827 12/26/04 12/26/04 29.96
RB 523828 12/26/04 12/26/04 90.10
RB 529829 12/26/04 12/26/04 49.60
RU 1113313 12/26/04 12/26/04 (1,228.23)
RM 2380683 02/22/05 02/22/05 (76,870.26)
RM 2380682 02/22/05 92/22/05 (88,529.82)
AM 2427372 04/26/05 04/26/05 (22,503.36)
AM 2497370 04/26/05 04/26/05 ~ (34,614.12)

986,197.15 AB TOTAL

~ (1,228.23) RU TOTAL
(222,517.56) RM TOTAL

162,451.36 JDE ACCOUNT TOTAL

Case 3:05-bk-03817-JAF Doc 9262-1 Filed 07/17/06 Page 7 of 7
yinnwane

Account #667881-2003 Continuity

Dac Type Doc# § DocDate Due Date Amount Due

RE 449495 osNg/0s 08/18/03 451.35
RS 447017 09/25/03 09/25/03 25,43
AB 447020 09/25/03 09/25/03 31,22
RB 452380 11/08/03 11/08/03 143,28
RB 52381 41/08/08 11/08/03 143.28
RB 452382 11/08/03 11/08/03 129.48
AB 452383 41/08/03 11/08/03 79.92
AB 452384 11/08/03 11/08/03 58.08
RB 454251 12/03/03 12/03/03 3,070.33
RB 541261 11/14/04... 14/14/04 725,00
RB 541262 1444fo4 = 14/14/04 400.00
RB 511263 1Nif04 11/11/04 150,00
RB 511264 411704 44/11/04 400,00
RB 511265 WO = 11/11/04 442.00
AB 511266 444/04 14/14/04 925,00
RB §11267 14/11/04 14/11/04 300,00
RB 511268 q1i1/o4 11/11/04 250.00
RB 511269 W4Aif04 44/11/04 950,00
AB 511270 T4104 14/11/04 200.00
RB 511271 qitijoa 14/41/04 400.00
RB 511272 1ytt04 = 11/11/04 425.00
AB 511273 44/14/04 = 11/11/04 50,00
RB 511274 144 = 14/11/04 25,00
RB 811275 W104 14/14/04 25.00
RB 511276 14404 11/11/04 50.00
RB 514277 1At04 = 11/11/04 2,246.03
RS 511278 T1404 = 1141/04 5,013.02
AS 511280 114/04 = 14/11/04 2,834.06
AB 511281 1iifod = 14/41/04 2,312.37
RB 511313 11/41/04. 11/11/04 6,493.09
AB 511315 WAtvo4 = 14/41/04 802,29
RB 11317 11104 = 14/14/04 373.77
RB 511319 444/04 44/11/04 8,991,140
AB 51320 10d = 11/11/04 432,32
RB 511922 41104 14/11/04 3,480.48
RB 511334 W/itio4 = 11/17/04 1,304,28
RS 511335 Wind = 14/14/04 9,774.08
RB 511936 14711704 14/11/04 2,986.82
AB 511937 qit/04 14/11/04 2,198.21
RB 511338 Hitjoa | 1441/04 7,TI4AT
RB 511339 q1ftt/o4 = 11/44/04 4,453.73
AB 511340 1444/04 11/71/04 813.16
RU 4413084 «= 114/04 = 11/11/04 (6,364.96)

70,031.35 RB TOTAL
(6,364.96) RU TOTAL.
62,605.59 JDE ACCOUNT TOTAL

